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                    6

                    7

                    8                                   UNITED STATES DISTRICT COURT

                    9                                        DISTRICT OF NEVADA
                   10

                   11 FRIGID RENTALS, INC.,,                               Case No. 2:21-CV-01176-JCM-VCF

                   12                      Plaintiff,                      STIPULATION AND ORDER TO
                                                                           EXTEND DISCOVERY PLAN AND
                   13             vs.                                      SCHEDULING ORDER
                   14 EPIC WORLDWIDE LLC,,                                 (Second Request)
                   15                      Defendant.

                   16

                   17               Pursuant to LR IA 6-1, LR 7-1 and LR 26-3, Plaintiff FRIGID RENTALS, INC. (“Frigid”

                   18 or “Plaintiff”) and Defendant EPIC WORLDWIDE LLC (“Epic” or “Defendant”) by and through

                   19 their respective undersigned counsel, stipulate to extend the dates set forth in the parties’ operative

                   20 Scheduling Order (ECF No. 14) by ninety (90) days. This stipulation is the parties’ second requested

                   21 extension of dates, although the first request was very minor. 1 In support of this second stipulation

                   22 and request, the parties state as follows:

                   23

                   24   1
                        The parties previously submitted a Stipulation for Extension of Time (First Request) (ECF No. 28)
                   25 on November 11, 2021, which was limited to extending the date for amending pleadings and adding
                      parties and which was filed on short notice due to an unexpected illness experienced by Plaintiff’s
                   26 lead counsel. The Court subsequently granted this stipulation in its Order (ECF No. 29) dated
                      November 12, 2021. This second requested extension requests an extension as to the balance of the
                   27
                      deadlines in the Scheduling Order (ECF No. 14), while leaving the current deadline for amending
                   28 pleadings and adding parties in place.
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                    1            Plaintiff initiated this litigation by filing its Complaint (ECF No. 3) on June 21, 2021 against

                    2 Defendant. Defendant filed its Answer (ECF No. 11) on August 13, 2021.

                    3            The parties held a FRCP 26(f) conference between their respective counsel on September 3,

                    4 2021 and, subsequently, the parties submitted a Joint Discovery Plan (ECF No. 13) pursuant to LR

                    5 26-1(b). On September 14, 2021, the Court issued the operative Scheduling Order (ECF No. 14),

                    6 adopting the stipulated Joint Discovery Plan previously submitted by the parties.

                    7            On September 24, 2021, Plaintiff filed the operative First Amended Complaint (ECF No.

                    8 17). Thereafter, Defendant filed its Answer to the First Amended Complaint (ECF No. 24) on

                    9 October 7, 2021.
                   10            On November 5, 2021, a Motion to Substitute Attorney (ECF No. 26) by Defendant, which
                   11 sought to substitute Lewis Brisbois Bisgaard & Smith LLP (“LBBS”) as counsel for Defendant in

                   12 place of Hutchison & Steffen, PLLC. The Court granted the Motion to Substitute Attorney through

                   13 its Order (ECF No. 27) dated November 8, 2021.

                   14            On November 11, 2021, the parties submitted a Stipulation for Extension of Time (First

                   15 Request), which was limited to extending the date for amending pleadings and adding parties

                   16 referenced in the preceding footnote. The Court subsequently granted this stipulation in its Order

                   17 (ECF No. 29) dated November 12, 2021.

                   18            A.        DISCOVERY COMPLETED

                   19            On September 3, 2021, counsel for Plaintiff and Defendant met and participated in their
                   20 conference pursuant to FRCP 26(f). Subsequently, both parties served their respective initial

                   21 disclosures on September 17, 2021 pursuant to FRCP 26(a)(1).

                   22            On September 17, 2021, Plaintiff served its First Set of Requests for Production of
                   23 Documents and Tangible Things on Defendant pursuant to FRCP 34.

                   24            On September 17, 2021, Plaintiff served its First Set of Interrogatories on Defendant
                   25 pursuant to FRCP 33.

                   26            On September 17, 2021, Plaintiff served its First Set of Requests for Admission on
                   27 Defendant pursuant to FRCP 36.

                   28            On October 8, 2021, Defendant served its First Supplemental Disclosure Pursuant to FRCP
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                    1 26(a)(1).

                    2            On October 11, 2021, Defendant served its Responses to Plaintiff’s First Set of Requests for

                    3 Admission.

                    4            On October 15, 2021, Defendant served its Responses to Plaintiff’s First Set of

                    5 Interrogatories.

                    6            On November 18, 2021, Defendant served its First Set of Requests for Production on

                    7 Plaintiff pursuant to FRCP 34.

                    8            On November 18, 2021, Defendant served its First Set of Requests for Admission on

                    9 Plaintiff pursuant to FRCP 36.
                   10            On November 18, 2021, Defendant served its First Set of Interrogatories on Plaintiff
                   11 pursuant to FRCP 33.

                   12            B.        DISCOVERY THAT REMAINS TO BE COMPLETED

                   13            This lawsuit is a complex commercial dispute involving competing allegations surrounding
                   14 the supply of trailer decals for a large fleet of trucks operated by a third-party discount store chain

                   15 based in Canada. The fact that much of the discovery required is located abroad (in Canada)

                   16 complicates the discovery process. Discovery was initiated in September and the parties are still in

                   17 the early stages of completing discovery.

                   18            The parties need to respond to the remaining written discovery that has already been served
                   19 as well as disclosing the remaining documents that have been gathered and need to be produced.

                   20 Since the underlying business transaction and related third parties are based in Canada, the parties

                   21 anticipate that they will need to obtain significant amounts of discovery from several third-parties

                   22 located in Canada.

                   23            The parties will need to conduct party depositions of one another’s respective
                   24 representatives, along with at least three or more depositions of representatives of the various third-

                   25 parties based in Canada. The parties also anticipate exchanging expert discovery and taking the

                   26 depositions of the parties’ respective expert witnesses.

                   27 / / /

                   28 / / /
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                    1            C.        REASONS WHY DISCOVERY HAS NOT BEEN COMPLETED

                    2            Since the time that the Court issued the operative Scheduling Order (ECF No. 14), the parties

                    3 have propounded and responded to written discovery, worked successfully to resolve one discovery

                    4 dispute and are currently in the process of meeting and conferring concerning a second one. While

                    5 the parties have organized and identified underlying relevant documents, the parties anticipate a

                    6 significant volume of at least several thousand pages that will still need to be reviewed and disclosed.

                    7 The parties are in the process of reviewing and preparing these remaining documents for disclosure,

                    8 which include large numbers of electronic records. Organizing these documents in a manner which

                    9 complies with electronic discovery protocols and which facilitates their efficient use as the case
                   10 proceeds (e.g., a useable organization that lends itself to responding to written discovery) has been

                   11 time-consuming.

                   12            The parties further anticipate that additional time will be needed for discovery in this case
                   13 based on the fact that many of the underlying third-party records and witnesses are located in

                   14 Canada. While the parties have been diligent in attempting to obtain available information through

                   15 available channels, they anticipate that the bulk of the discoverable documents and witness

                   16 testimony based in Canada will have to be obtained through formal Canadian discovery

                   17 mechanisms.

                   18            Plaintiff’s counsel will also be engaged in a highly complex commercial trial in Dallas,
                   19 Texas during the week of December 13-17 which is very likely to take place despite the ongoing

                   20 pandemic, and anticipate spending considerable time over the ensuing several weeks preparing for

                   21 this trial. For this reason, Plaintiff’s counsel has requested, and Defendant has agreed, to an

                   22 extension for Plaintiff to respond to Defendant’s written discovery.

                   23            Finally, Defendant’s recent change of counsel on November 5, 2021 has necessarily required
                   24 additional time as Defendant’s new counsel, LBBS, has onboarded and reviewed records from

                   25 Defendants’ prior counsel. While the parties have been diligent and cooperating with one another

                   26 as to a number of pending discovery items during this time period, they anticipate that additional

                   27 time will be needed in light of the transition of counsel for Defendant.

                   28 / / /
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                    1            In light of the above, the parties respectfully submit that the above factors provide good

                    2 cause for the requested discovery plan modification detailed in the next section.

                    3

                    4            D.        PROPOSED SCHEDULE

                    5
                            EVENT                                      CURRENT DEADLINE                               PROPOSED NEW DATE
                    6
                            Amend Pleadings/Add Parties                November 24, 2021 2                            No change requested.
                    7
                            Initial Expert Disclosures 3               December 10, 2021                              Thursday March 31, 2022
                    8

                    9       Rebuttal Expert Disclosures                January 10, 2022                               Friday April 29, 2022
                   10
                            Any Motion to modify or extend the         January 19, 2022                               Tuesday May 10, 2022
                   11       Discovery Plan and Scheduling Order
                            is due under LR 26-3
                   12
                            Close of Discovery                         February 9, 2022                               Tuesday May 31, 2022
                   13

                   14       Dispositive Motions                        March 11, 2022                                 Thursday June 30, 2022

                   15
                            Pre-Trial Order                            April 11, 2022                                 Friday July 29, 2022
                   16                                            If dispositive motions are filed, the deadline
                                                                 for filing the joint pretrial order will be suspended until 30 days after
                                                                 decision on the dispositive motions or further court order.
                   17
                                 This second request for an extension of time is not sought for delay or any other improper
                   18
                        purpose. Rather, the parties seek this extension solely to allow sufficient time to complete discovery
                   19
                        and prepare their respective cases for trial. The parties stipulate and submit that the reasons set forth
                   20
                        above constitute good cause for the extension.
                   21
                        ///
                   22

                   23
                        2
                   24  This deadline was previously extended as a result of the parties’ Stipulation for Extension of
                      Time (First Request) (ECF No. 28), which the Court subsequently granted in its Order (ECF No.
                   25 29) dated November 12, 2021. No further extension is being sought as to this deadline.

                   26   3
                        The parties prior Joint Discovery Plan (ECF No. 13) inadvertently included a deadline for an
                      Interim Status Report pursuant to the prior version of LR 26-3. Since the current operative version
                   27
                      of LR 26-3 no longer requires interim status reports, the parties have removed this deadline from
                   28 the proposed schedule.
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                    1            Accordingly, the parties respectfully request that this Court extend the operative

                    2 discovery plan and scheduling order by three months and three weeks (111 days) as indicated in

                    3 the above table.

                    4    DATED this 18th day of November, 2021.           DATED this 18th day of November, 2021.

                    5    LEWIS BRISBOIS BISGAARD &                        SBAITI & COMPANY PLLC
                         SMITH LLP
                    6
                          /s/ Adam J. Pernsteiner                 _       _/s/ Michał Zapendowski_____________
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                   10

                   11                                                     D. Chris Albright, Esq.
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                   14                                                     Attorneys for FRIGID RENTALS, INC.
                   15

                   16                                             ORDER
                   17
                                                     IT IS SO ORDERED:
                   18
                                                                  _______________________________________
                   19                                             UNITED STATES MAGISTRATE JUDGE
                   20                                             DATED: _______________________________
                                                                            11-23-2021

                   21

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